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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

UNITED STATES OF AMERICA                           )      CASE NO. 1:06CR594-43
                                                   )
              Plaintiff,                           )      JUDGE ANN ALDRICH
                                                   )
        v.                                         )      Magistrate Judge Vecchiarelli
                                                   )
TONY BUTTS                                         )
                                                   )      ORDER
                                                   )
              Defendant.                           )




       Before this court is the Report and Recommended Decision (the “R&R”) of Magistrate

Judge Vecchiarelli. [Document No.492] recommending the court accept the Report and

Recommendation regarding the plea of guilty entered on April 5, 2007. No objections to the

Report and Recommendation were filed. The Report and Recommendation is hereby

ADOPTED in its entirety.

       IT IS SO ORDERED.




                                                   s/Ann Aldrich
                                                   ANN ALDRICH
                                                   UNITED STATES DISTRICT JUDGE


Dated: December 13, 2007




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